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                        EXHIBIT D
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                                                         AMY NEUHARDT
                                                         Tel.: (202) 274-1137
                                                         E-mail: aneuhardt@bsfllp.com

                                                         June 8, 2018

    BY EMAIL

    Matthew Nolan
    Arent Fox LLP
    1717 K Street NW
    Washington, DC 20006

           Re:     Subpoena to Joseph Allaham in the Matter Broidy Capital
                   Management et al. v. State of Qatar et al., Case No. 18-cv-02421-JFW
                   (C.D. Cal.)

    Dear Mr. Nolan:

          This confirms and amplifies Mr. Dwyer’s communication on this subject to Ms.
    Temitope of your firm earlier this morning.

            I write concerning reports in the news yesterday that your client, Joseph Allaham,
    is acknowledging a business relationship with the State of Qatar, and that he will be filing
    papers disclosing that relationship pursuant to the Foreign Agents Registration Act. We
    do not know the terms of Mr. Allaham’s agreement with the State of Qatar or any of its
    agents, but are concerned that the terms of that agreement may require Mr. Allaham to
    return or destroy confidential information upon request of the State of Qatar or others.

            Any such contractual requirement is superseded by your client’s obligation under
    federal law to preserve any documents responsive to the subpoena for documents served
    on him in this case. The State of Qatar, Nicholas Muzin and Stonington Strategies LLC
    have all taken the position that documents exchanged between contractors with the State
    of Qatar and the sovereign are subject to consular protections under the Vienna
    Convention. We do not know your client’s position on that argument, but are concerned
    that, because of serious weaknesses in that argument – in particular as it applies to
    documents in possession of Mr. Allaham at his home or office – the State of Qatar and
    Mr. Allaham may transfer all copies of such documents to the Embassy and/or Qatar.

          Pursuant to Judge Forrest’s order, your client is required to produce all responsive
    documents sought by Plaintiffs’ subpoena duces tecum. We seek immediate specific
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    confirmation from you that your client has not moved and will not move documents
    responsive to the subpoena to the Embassy of the State of Qatar, where they may become
    beyond the reach of the United States courts. Because we understand from Ms. Yusef
    that Mr. Allaham has transferred some or all of his electronically stored information
    and/or other responsive materials to Arent Fox, we further seek confirmation from you
    that your firm has not transferred and will not transfer any such materials in the
    possession of Arent Fox to the Embassy of the State of Qatar.

            If you or Mr. Allaham believe that Mr. Allaham is not required to preserve
    materials subject to the subpoena in their current locations and to refrain from
    transferring such documents to the custody of the State of Qatar, we have a fundamental
    disagreement and need to seek the Court’s intervention immediately – i.e., prior to the
    return of any documents to the State of Qatar.

            Accordingly, I ask that you immediately confirm that Mr. Allaham has not and
    will not transfer to the State of Qatar any documents in his possession, custody or control
    during the pendency of this litigation. Absent prompt confirmation of this matter,
    Plaintiffs intend to seek relief from the Court.

               Please feel free to contact me or Lee Wolosky if you would like to discuss this
    further.



                                                    Sincerely,

                                                    /s/ Amy Neuhardt
                                                    Amy Neuhardt
                                                    BOIES SCHILLER FLEXNER LLP
                                                    1401 New York Avenue, NW
                                                    Washington, D.C. 20005

    Cc:        Temitope Yusef, Esq.
               Stephen Obermeier, Esq.
               Mitchell Kamin, Esq.
               Neema Sahni, Esq.
               Brendan McGuire, Esq.
               Rebecca Van Tassell, Esq.
               Matthew Gardner, Esq.
